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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 SCOTT H. KORN AND ARLENE A. KORN
                       Plaintiffs,
             v.                                        CIVIL ACTION NO. 19-226
 CALIBER HOME LOANS, INC., et al.
                       Defendant/Third- Party

                                            ORDER

       AND NOW, this 23rd day of March 2020, upon consideration of Plaintiff’s Motion to

Extend Case Management Deadlines [Doc. No. 37], and the opposition thereto, and taking into

account the motion to quash the subpoena directed to Joseph Krause, which is pending in the

United States District Court for the Northern District of Texas at Miscellaneous Action No. 20-

20, it is hereby ORDERED that the Motion is GRANTED. All deadlines set forth in the

Court’s scheduling order dated November 8, 2019 [Doc. No. 25] are EXTENDED by 60 days.

        It is so ORDERED.

                                                    BY THE COURT:

                                                    /s/ Cynthia M. Rufe

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                                                    CYNTHIA M. RUFE, J.
